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                     Exhibit A
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              To‐Date Service Performance For First‐Class Mail
                             Nation ‐ By Week

              Postal Week                First‐Class Mail ‐
                End Date                     National
               5/21/2021                      87.84%
               5/28/2021                      88.89%
               6/4/2021                       89.95%
               6/11/2021                      87.54%
               6/18/2021                      87.96%
               6/25/2021                      88.20%
               7/2/2021                       89.25%
                 7/9/21                       90.14%
                7/16/21                       88.07%
                7/23/21                       89.70%
                7/30/21                       88.97%
                 8/6/21                       88.79%
                8/13/21                       88.87%
                8/20/21                       89.01%
                8/27/21                       89.34%
                 9/3/21                       88.03%
                9/10/21                       87.59%
                9/17/21                       86.60%
                9/24/21                       86.81%
                10/1/21                       88.21%
                10/8/21                       91.07%
               10/15/21                       91.67%
               10/22/21                       90.87%
               10/29/21                       92.22%
                11/5/21                       92.00%
               11/12/21                       92.07%
               11/19/21                       91.12%
               11/26/21                       91.25%
                12/3/21                       89.76%
               12/10/21                       88.21%
               12/17/21                       86.29%
               12/24/21                       87.95%
               12/31/21                       89.28%
                 1/7/22                       90.01%
                1/14/22                       84.50%
                1/21/22                       87.61%
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